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                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF DELAWARE

    In re:                                                              Chapter 11

    SRC LIQUIDATION COMPANY, et al., 1                                  Case No. 15-10541 (BLS)

                                Debtors.                                (Jointly Administered)

                                                                        Obj. Deadline: November 11, 2015 at 4:00 p.m. (ET)



             NOTICE OF FILING OF MONTHLY COMPENSATION AND STAFFING REPORT
               OF MCKINSEY RECOVERY & TRANSFORMATION SERVICES U.S., LLC
             FOR THE PERIOD FROM SEPTEMBER 1, 2015 THROUGH SEPTEMBER 30, 2015

                        PLEASE TAKE NOTICE that, on March 23, 2015, the above captioned debtors
         and debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for Order
         Authorizing the Debtors to (I) Employ and Retain McKinsey Recovery & Transformation
         Services U.S., LLC to Provide Interim Management Services Pursuant to 11 U.S.C. § 363, and
         (II) Designate Kevin Carmody as Chief Restructuring Officer Nunc Pro Tunc to the Petition
         Date [Docket No. 87] with the United States Bankruptcy Court for the District of Delaware (the
         “Court”).

                         PLEASE TAKE FURTHER NOTICE that, on April 13, 2015, the Court entered
         the Order Authorizing the Debtors to (I) Employ and Retain McKinsey Recovery &
         Transformation Services U.S., LLC to Provide Interim Management Services Pursuant to 11
         U.S.C. § 363, and (II) Designate Kevin Carmody as Chief Restructuring Officer Nunc Pro Tunc
         to the Petition Date [Docket No. 257] (the “Order”).

                      PLEASE TAKE FURTHER NOTICE that in accordance with the Order,
         McKinsey Recovery & Transformation Services U.S., LLC hereby files its monthly
         compensation and staffing report for the period from September 1, 2015 through September 30,
         2015 (the “Monthly Report”) in the form attached hereto as Exhibit 1.




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                The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: SRC
                Liquidation Company (5440); SR Liquidation Holding Company (3186); SR Liquidation Technologies, Inc.
                (3180); SR Liquidation International, Inc. (1861); iMLiquidation, LLC (6337); SR Liquidation of Puerto Rico
                Inc. (0578); SR Liquidation Mexico Holding Company (1624); Standard Register Holding, S. de R.L. de C.V.
                (4GR4); Standard Register de México, S. de R.L. de C.V. (4FN0); Standard Register Servicios, S. de R.L. de
                C.V. (43K5); and SR Liquidation Technologies Canada ULC (0001). The headquarters for the above-captioned
                Debtors is located at 600 Albany Street, Dayton, Ohio 45417.

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                         PLEASE TAKE FURTHER NOTICE that objections to the Monthly Report, if
         any, are required to be filed on or before November 11, 2015 at 4:00 p.m. (ET) (the “Objection
         Deadline”) with the Clerk of the United States Bankruptcy Court for the District of Delaware,
         3rd Floor, 824 Market Street, Wilmington, Delaware 19801. At the same time, you must also
         serve a copy of the response so as to be received by the following on or before the Objection
         Deadline: (i) the attorneys for the Debtors, (A) Gibson, Dunn & Crutcher LLP, 333 South Grand
         Avenue, Los Angeles, CA 90071 (Attn: Robert A. Klyman) and (B) Young Conaway Stargatt &
         Taylor, LLP, 1000 N. King Street, Rodney Square, Wilmington, DE 19801 (Attn: Michael R.
         Nestor); (ii) the Office of the United States Trustee for the District of Delaware, 844 King Street,
         Suite 2207, Lockbox 35, Wilmington, DE 19801 (Attn: Mark Kenney); (iii) counsel for Silver
         Point Finance, LLC, Skadden, Arps, Slate, Meagher & Flom LLP, 155 N. Wacker Drive,
         Chicago, IL 60606-1720 (Attn: Ron E. Meisler); (iv) counsel for Bank of America, N.A., Parker,
         Hudson, Rainer & Dobbs LLP, 1500 Marquis Two Tower, 285 Peachtree Center Avenue,
         Atlanta, GA 30303 (Attn: C. Edward Dobbs, Esq.); and (v) counsel for the Official Committee of
         Unsecured Creditors, Lowenstein Sandler LLP, 1251 Avenue of the Americas, New York, NY
         10020 (Attn: Wojciech F. Jung, Esq.).

                   PLEASE TAKE FURTHER NOTICE THAT PURSUANT TO THE
         ORDER ONLY IF AN OBJECTION IS PROPERLY AND TIMELY FILED IN
         ACCORDANCE WITH THE ABOVE PROCEDURE WILL A HEARING BE HELD
         ON THE MONTHLY REPORT. ONLY THOSE PARTIES TIMELY FILING AND
         SERVING OBJECTIONS WILL RECEIVE NOTICE AND BE HEARD AT SUCH
         HEARING. IF NO OBJECTIONS ARE FILED AND SERVED IN ACCORDANCE
         WITH THE ABOVE PROCEDURES, THE DEBTORS WILL BE AUTHORIZED TO
         PAY 100% OF REQUESTED FEES AND EXPENSES WITHOUT FURTHER ORDER
         OF THE COURT.




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         Dated:   October 28, 2015
                  Wilmington, Delaware      /s/ Elizabeth S. Justison
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                                            Debtors in Possession




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                                       EXHIBIT 1




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